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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


DONALD BARTELT, Derivatively on Behalf )
of TREEHOUSE FOODS, INC.,              )
                                       )
                  Plaintiff,           )             Case No.
                                       )
            v.                         )             VERIFIED SHAREHOLDER
                                       )             DERIVATIVE COMPLAINT
SAM K. REED, GEORGE V. BAYLY, )
LINDA K. MASSMAN, DENNIS F. )
O’BRIEN, FRANK J. O’CONNELL, ANN )
M. SARDINI, GARY D. SMITH, DAVID B. )
VERMYLEN, TERDEMA L. USSERY, II, )
ROBERT B. AIKEN JR., DENNIS F. )                     DEMAND FOR JURY TRIAL
RIORDAN, CHRISTOPHER D. SLIVA, and )
MATTHEW J. FOULSTON,                   )
                                       )
                  Defendants,          )
                                       )
       and                             )
                                       )
TREEHOUSE FOODS, INC., a Delaware )
corporation,                           )
                                       )
                  Nominal Defendant.   )
_____________________________________ )



       Plaintiff Donald Bartelt (“Plaintiff”), by and through his undersigned attorneys, brings this

derivative complaint for the benefit of nominal defendant, TreeHouse Foods, Inc. (“TreeHouse”

or the “Company”), against certain members of its Board of Directors (the “Board”) and certain

of its officers seeking to remedy defendants’ breaches of their fiduciary duties, unjust

enrichment, waste of corporate assets, abuse of control, gross mismanagement, and violations of

§ 14 of the Securities Exchange Act of 1934.




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                                 NATURE OF THE ACTION

       1.      TreeHouse provides private label packaged foods and beverages to retail grocery

and home customers.

       2.      In February 2016, TreeHouse acquired private brands operations (“Private Brands

Business”) from ConAgra Foods (“ConAgra”) for $2.7 billion. The Board touted the acquisition

as “meaningfully expand[ing] TreeHouse’s presence in private label dry and refrigerated

grocery.”

       3.      In the first two quarters after the acquisition, the Company reported positive

results from the Private Brands Business and stated that the integration with its legacy business

was “on track” and “on budget.” During this period, net sales reportedly improved by more than

50% year-over-year due to the acquired business.

       4.      However, on November 3, 2016, the Company reported a startling series of

events. The Company disclosed that its financial performance for the third quarter 2016 fell short

of expectations and was “principally attributable to a miscalculation on our behalf regarding the

internal issues, not market conditions or organizational capability.” Additionally, the Company

reported that it would close one facility acquired from ConAgra and reduce jobs at another.

TreeHouse’s newly-appointed President resigned only three months after being appointed to the

position.

       5.      On this news, the price of TreeHouse stock fell $16.87 per share, or nearly 20%,

to close at $69.72 per share on November 3, 2016. Despite additional representations that the

integration of the acquired businesses were on track, TreeHouse’s had not disclosed the full

extent of integration problems faced by the Company. On November 2, 2017, the Company’s

reported lower earnings, revised its guidance downward, and reported further executive
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resignations. On this news, the price of TreeHouse stock fell $23.33 per share, or more than

35%, to close at $43.03 per share on November 2, 2017.

       6.      These revelations precipitated the filing of a securities class action in the U.S.

District Court for the Northern District of Illinois against TreeHouse and certain of its officers,

Public Employees’ Retirement System of Mississippi v. TreeHouse Foods, Inc. et al., 1:16-cv-

10632 (the “Securities Class Action”).

       7.      On February 12, 2018, Judge Samuel Der-Yeghiayan denied the defendants’

motion to dismiss. In the order, Judge Der-Yeghiayan stated that a claim for securities fraud had

been stated against TreeHouse and certain of the officers and directors. Due to the denial of the

motion to dismiss in the Securities Class Action, it is now a near certainty that TreeHouse will

incur significant liability due to the wrongs committed by defendants when they concealed the

truth about the viability of the Private Brands Business and the Company’s financial

performance.

       8.      In 2017, while they continued to overstate the performance of the Private Brands

Business, the Board sought and obtained stockholder votes approving an increase to the

Company’s Equity and Incentive Plan by 3.8 million shares. Equity pursuant to the Company’s

Equity and Incentive Plan is effectively awarded at the discretion of the Board.

       9.      Plaintiff did not make a litigation demand prior to filing this action because such

demand would have been futile based upon the composition of the Board and the actions taken

by the Board members. The Board is currently composed of ten members. Of those ten members,

seven are named as defendants in this action, and the remaining three directors were appointed

after the wrongdoing. Thus, more than half the members of the Board would be interested in a

demand to investigate their own wrongdoing.
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          10.    At least half of TreeHouse’s current Board is not disinterested and independent

and/or faces a substantial likelihood of liability in connection with the wrongdoing detailed

herein.

                                         JURISDICTION

          11.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 in that

this Complaint states a federal question: violations of Section 14(a) of the Securities Exchange

Act of 1934. This Court has supplemental jurisdiction over the state law claims asserted herein

pursuant to 28 U.S.C. § 1367(a). This action is not a collusive one to confer jurisdiction on a

court of the United States which it would not otherwise have.

          12.    Venue is proper in this Court because a substantial portion of the transactions and

wrongs complained of herein occurred in this District, TreeHouse is headquartered in this

District, and defendants have received substantial compensation by engaging in activities that

had an effect in this district and are directly related to the wrongdoing alleged herein.

                                             PARTIES

          Plaintiff

          13.    Plaintiff Donald Bartelt has owned TreeHouse stock since 2005 and has

continuously owned shares since that date.

          Nominal Defendant

          14.    Nominal Defendant TreeHouse is a Delaware corporation with its principal

executive offices at 2021 Spring Road, Suite 600, Oak Brook, Illinois 60523.                TreeHouse

provides private label packaged foods and beverages to retail grocery and to food away from

home customers. The Company stock trades on the New York Stock Exchange under the symbol

“THS.”
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         Defendants

         15.   Defendant Sam K. Reed (“Reed”) served as the Company’s Chief Executive

Officer and Chairman of the Board of Directors from January 2005 to March 2018. He also

served as President from July 2011 to August 2016 and from October 29, 2017 to March 26,

2018.

         16.   Defendant George V. Bayly (“Bayly”) has served as a director of the Company

since June 2005.

         17.   Defendant Linda K. Massman (“Massman”) has served as a director of the

Company since July 2016.

         18.   Defendant Dennis F. O’Brien (“O’Brien”) has served as a director of the

Company since August 2009.

         19.   Defendant Frank J. O’Connell (“O’Connell”) has served as a director of the

Company since June 2005.

         20.   Defendant Ann M. Sardini (“Sardini”) has served as a director of the Company

since May 2008.

         21.   Defendant Gary D. Smith (“Smith”) has served as a director of the Company

since June 2005.

         22.   Defendant David B. Vermylen (“Vermylen”) has served as a director of the

Company since August 2009.

         23.   Defendant Terdema L. Ussery II (“Ussery”) served as a director of the Company

from June 2005 to February 2018.
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       24.     Defendant Robert B. Aiken Jr. (“Aiken”) served as the Company’s Chief

Operating Officer (“COO”) and President from July 10, 2017 to October 29, 2017 when he

resigned from the Company.

       25.     Defendant Dennis F. Riordan (“Riordan”) served as the Company’s Chief

Financial Officer (“CFO”) from January 2006 to December 2016 and as President from

November 3, 2016 to July 10, 2017.

       26.     Defendant Christopher D. Sliva (“Sliva”) served as the Company’s President from

August 2016 to November 3, 2016, when he resigned from the Company.

       27.     Defendant Matthew J. Foulston (“Foulston”) has served as the Company’s CFO

since December 2016.

       28.     The defendants named in ¶¶ 15-27 are sometimes referred to hereinafter as the

“Individual Defendants.” The Defendants named in ¶¶ 15-23 are sometimes referred to as

“Director Defendants.” The Defendants in ¶¶ 15 and 24-27 are sometimes referred to as “Officer

Defendants.”

                       DUTIES OF THE INDIVIDUAL DEFENDANTS

       29.     By reason of their positions as officers, directors and/or fiduciaries of TreeHouse

and because of their ability to control the business and corporate affairs of TreeHouse, at all

relevant times, the Individual Defendants owed TreeHouse and its shareholders fiduciary

obligations of good faith, loyalty, and candor, and were required to use their utmost ability to

control and manage TreeHouse ina         fair, just, honest, and equitable manner. Individual

Defendants were required to act in furtherance of the best interest of TreeHouse and its

shareholders so as to benefit all shareholders equally and not in furtherance of their personal

interest or benefit. Each director and officer of the Company owes to TreeHouse and its
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shareholders a fiduciary duty to exercise good faith and diligence in the administration of the

affairs of the Company and in the use and preservation of its property and assets, and the highest

obligations of fair dealing.

       30.     Individual Defendants, because of their positions of control and authority as

directors and/or officers of TreeHouse, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein. Because of their advisory, executive,

managerial, and directorial positions with TreeHouse, each of the defendants had knowledge of

material non-public information regarding the Company.

       31.     TreeHouse’s Code of Ethics (“Code”) imposes an affirmative obligation on

authorized persons to provide complete, accurate, transparent, and timely information in

connection with the Company’s disclosures.

       32.     To discharge their duties, the officers and directors of TreeHouse were required to

exercise reasonable and prudent supervision over the management, policies, practices and

controls of the Company. By virtue of such duties, the officers and directors of TreeHouse were

required to, among other things:

               (a)     Exercise good faith to ensure that the affairs of the Company were
                       conducted in an efficient, business-like manner so as to make it
                       possible to provide the highest quality performance of their
                       business;

               (b)     Exercise good faith to ensure that the Company was operated in a
                       diligent, honest and prudent manner and complied with all
                       applicable federal and state laws, rules, regulations and
                       requirements, and all contractual obligations, including acting only
                       within the scope of its legal authority.

               (c)     Exercise good faith to ensure that the Company’s communications
                       with the public and with shareholders are made with due candor in
                       a timely and complete fashion; and
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               (d)    When put on notice of problems with the Company’s business
                      practices and operations, exercise good faith in taking appropriate
                      action to correct the misconduct and prevent its recurrence.

                              SUBSTANTIVE ALLEGATIONS

The Individual Defendants Cause the Company to Acquire Certain Assets from ConAgra

       33.     On February 1, 2016, TreeHouse announced that it had completed the acquisition

of ConAgra’s Private Brands Business for $2.7 billion.

       34.     In the press release, the Company made positive statements about the Private

Brands Business’s performance:

       “We are pleased to have closed the acquisition, and will continue to focus on
       driving shareholder value and offering our customers value without compromise
       through economies of scale, quality products and superior customer service,” said
       Sam K. Reed, Chairman, President and Chief Executive Officer of TreeHouse
       Foods.

       “The Private Brands acquisition broadens our portfolio of offerings for our
       customers. We remain unwaveringly committed to supporting our customers’
       efforts to build their corporate brands and offer consumers the best combination
       of choice and value,” Mr. Reed continued. “We are looking forward to working as
       one go-to-market team to achieve success and will work tirelessly to develop the
       systems and infrastructure to deliver a seamless integration.”

       The acquisition of ConAgra’s private brands operations meaningfully expands
       TreeHouse’s presence in private label dry and refrigerated grocery, and will be
       called TreeHouse Private Brands. Bay Valley Foods (with Flagstone Foods) and
       TreeHouse Private Brands will be the operating platforms of TreeHouse Foods,
       Inc. Following the Private Brands acquisition, TreeHouse Foods, Inc. has pro
       forma sales of approximately $7 billion for the twelve months ended
       December 31, 2015, more than 50 manufacturing facilities and over 16,000
       employees.

The Individual Defendants Cause the Company to Overstate the Private Brands Business’s
Performance

       35.     On February 11, 2016, the Company announced its fourth quarter 2015 financial

results and provided an outlook for fiscal 2016. The press release announced that it had delivered

adjusted earnings per share of $1.08, net sales of $865.4 million, and net income of $37.3 million.
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Defendant Reed commented that overall market conditions and weakness in the Canadian dollar

weighed on the Company’s top line.

       36.     With respect to the 2016 outlook, the press release stated that “net sales are expected

to double in 2016 to approximately $6.3-6.5 billion, driven by the addition of the Private Brands

Business” but that “[g]ross margin is expected to be roughly flat year-over-year, as the profit

contribution from the newly acquired Private Brands Business is below legacy margin levels and

foreign exchange headwinds will continue to challenge margins.” The Company “reiterated its

guidance of $2.95 to $3.10 in adjusted earnings per share in 2016.”

       37.     On February 18, 2016, the Company filed its annual report on Form 10-K with the

SEC for the period ended December 31, 2015 on Form 10-K with the SEC (the “2015 10-K”). It

was signed by Defendants Reed, Riordan, Bayly, O’Brien, O’Connell, Sardini, Smith, Ussery,

and Vermylen. Defendants Reed and Riordan signed certifications pursuant to Rule 13a-14(a)

and 15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) attesting to

the accuracy of the 2015 10-K.

       38.     The 2015 10-K noted that private label penetration in the United States was below

that of many other developed economies, and that “private label products sold in the retail

grocery channel in the United States compete with branded products on the basis of equivalent

quality at a lower price.” The report outlined a strategy to grow the Company and enhance

profitability, including: expanding partnerships with retailers; utilizing scale and innovation to

meet customer needs; driving growth and profitability from its existing portfolio; leveraging

cross-selling opportunities across customer, sales channels, and geographies; and growing

through acquisitions. Specifically, with respect to acquisitions, the 2015 10-K stated:

       Growth through acquisitions. We believe we have the expertise and demonstrated
       ability to identify and integrate value-enhancing acquisitions. We selectively
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       pursue acquisitions of complementary businesses that we believe are a compelling
       strategic fit with our existing operations and will increase shareholder value. Each
       potential acquisition is evaluated for merit utilizing a rigorous analysis that
       assesses targets for their market attractiveness, intrinsic value, and strategic fit.
       We believe our acquisitions have been successful and consistent with our strategy.
       Since we began operating as an independent company in 2005, our acquisitions
       have significantly added to our revenue base and allowed us to significantly
       diversify our product offerings. We attempt to maintain conservative financial
       policies when pursuing acquisitions and we believe that our proven integration
       strategies have resulted in deleveraging. By identifying targets that fit within our
       defined strategies, we believe we can continue to expand our product selection
       and continue our efforts to be the low-cost, high quality and innovative supplier of
       private label food products for our customers. During 2014, we completed our
       most recent acquisitions of PFF Capital Group (“Protenergy”) for approximately
       $143 million and Flagstone for approximately $855 million. On February 1, 2016,
       we completed the acquisition of the Private Brands Business from ConAgra
       Foods for $2.7 billion, subject to working capital and other adjustments.

       39.     On May 5, 2016, the Company filed a quarterly report on Form 10-Q with the

SEC for the period ended March 31, 2016 (the “1Q16 10-Q”). Defendants Reed and Riordan

signed SOX certifications attesting to its accuracy.

       40.     In a press release issued the same day that summarized the 1Q16 10-Q, the

Company highlighted the contribution of the Private Brands Business and provided guidance for

2016. It reported adjusted EPS of $0.48 and net loss of $3.3 million. The press release stated:

       Adjusted EBITDA . . . was $125.2 million in the first quarter of 2016, a 48.2%
       increase compared to the same period in the prior year. The increase in
       Adjusted EBITDA this quarter was driven by the inclusion of operating income
       from the acquisition of the private brands operations ("Private Brands")
       of ConAgra Foods, Inc., operating efficiencies, and favorable commodity costs,
       partially offset by unfavorable Canadian foreign exchange and lower legacy
       volumes. Net sales for the first quarter totaled $1,270.2 million compared
       to $783.1 million last year, an increase of 62.2%, due to the inclusion of
       business from the Private Brands acquisition, partially offset by lower
       volume/mix . . . Reported gross margins were 17.7% in the first quarter of 2016
       compared to 19.5% in the first quarter of the prior year. The decrease in gross
       margin as a percent of net sales was primarily due to lower margin business from
       the Private Brands acquisition, which contributed 130 bps toward the decline. . . .

(Emphases added.)
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        41.     Defendant Reed stated that integration of the Private Brands Business was “on

track” and “on budget.” He also stated that the Private Brands Business was “starting to regain

lost distribution that resulted from past service issues.”

        42.     With respect to the 2016 outlook, the press release stated:

        [S]econd quarter year-over-year earnings comparisons will be challenged, similar
        to the first quarter, due to the duplicative costs resulting from the Private Brands
        acquisition and the lower margin structure the new business has compared to the
        legacy TreeHouse business. Therefore, second quarter adjusted earnings per
        share is expected to be in the range of $0.50 to $0.55 per share. In regard to the
        full year, TreeHouse tightened its full year guidance to a range of $3.00 to
        $3.10 in adjusted earnings per share in 2016

        43.     On August 4, 2016, the Company filed a quarterly report on Form 10-Q with the

SEC for the period ended June 30, 2016 (the “2Q16 10-Q”). Defendants Reed and Riordan

signed SOX certifications attesting to its accuracy.

        44.     In a press release issued the same day that summarized the 2Q16 10-Q, the

Company continued to emphasize the positive contribution of the Private Brands Business and

reaffirmed the full year 2016 guidance. It reported adjusted EPS of $0.54 and net income of

$15.6 million. It further stated:

        Net sales for the second quarter totaled $1,541.4 million compared to $759.2
        million last year, an increase of 103.0%, due to the inclusion of business from
        the acquisition of the private brands operations of ConAgra Foods, Inc. ("Private
        Brands") and favorable volume/mix, primarily in the North American Retail
        Grocery segment, partially offset by lower pricing . . . Reported gross margins
        were 17.2% in the second quarter of 2016 compared to 19.9% in the second
        quarter of the prior year. The decrease in gross margin as a percent of net sales
        was primarily due to lower margin products from the Private Brands acquisition,
        which contributed 160 bps toward the decline.

        . . . The Company reaffirmed its 2016 full year guidance range of $3.00 to $3.10
        in adjusted earnings per fully diluted share. . . .

(Emphasis added.)
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       45.     Defendant Reed also commented positively on the integration of the Private

Brands Business, stating that the integration was “well underway” and “gaining momentum.”

He further noted that “we completed a virtually flawless integration of the acquired condiments

business onto the TreeHouse SAP system in early July.”

       46.     The same day, the Company announced that Defendant Sliva, who had served as

COO, had been elected President of TreeHouse and that Defendant Riordan would retire as CFO

and transition to a Senior Advisor role. Defendant Reed praised Defendant Sliva’s contributions

and recognized him as “the driving force in focusing our organization on the private label

fundamentals of customers, categories, consumers and organizational capabilities.”

                            THE TRUTH BEGINS TO EMERGE

       47.     On November 3, 2016, in connection with its third quarter financial results, the

Company disclosed that the Private Brands Business had fallen short of expectations and

lowered its full year 2016 adjusted earnings per share to $2.80-$2.85 from $3.00-$3.10. For the

quarter, the Company reported adjusted EPS of $0.70, net sales of $1.587 billion, gross margins

of 18.0%, and net income of $37.2 million.

       48.     Commenting on the results, Defendant Reed explained that the shortfall was

attributable to the Private Brands Business and associated integration efforts. He continued:

       The third quarter was a tale of two cities. . . Our legacy business continued to
       perform well, paced by Retail volume/mix growth of 4.6% and 80 basis points of
       direct operating income margin expansion. On the other hand, while the Private
       Brands business showed sequential improvement, its results fell short of our
       expectations for the quarter.

       We believe the underperformance of the Private Brands business is attributable
       to our all-encompassing efforts to smoothly integrate the operations of the new
       business. While we have made great progress in consolidating plants, stabilizing
       the workforce and reducing our reliance on the transition services, the shift in
       management attention led to less robust Private Brands sales than we
       experienced in the legacy organization. . . . We will be unveiling a new go-to-
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       market sales structure to better align and focus our sales teams to drive new and
       consistent growth.

       49.     The same day, the Company announced operational changes to two facilities that

had been acquired from ConAgra: the Company would close its Delta, British Columbia facility

and reduce jobs at its Battle Creek, Michigan facility. The Company explained the decision

“follow[ed] an analysis of the Company’s plant network to align operations with the current and

future needs of its customers and eliminate excess manufacturing capacity.” As to the financial

impact, the press release stated:

       Total costs to close the Delta facility and downsize Battle Creek are expected to
       be approximately $14.7 million, or $0.16 per fully diluted share, of which
       approximately $6.8 million, or $0.08 per fully diluted share, is expected to be in
       cash. Components of the charges include non-cash asset write-offs of
       approximately $7.9 million, employee-related costs of approximately $4.6
       million and other closure costs of approximately $2.2 million. The Company
       expects approximately $4.0 million and $3.1 million of the charges to be
       incurred in the fourth quarter of this year and the first quarter of 2017,
       respectively, with the balance of the charges being incurred through the end of
       2018.

       50.     Moreover, Defendant Sliva resigned as President on November 3, 2016—only

three months after being elected to the position. Defendant Riordan would serve as President

while the Company conducted a search for a replacement.

       51.     On November 3, 2016, Defendant Reed participated in a conference call with

analysts and investors and explained that the shortfalls in the financial performance were

“principally attributable to a miscalculation on our behalf regarding the internal issues, not

market conditions or organizational capability.” He further explained:

       We had underestimated the heavy burden that the acquired Private Brands team
       would bear under the combined weight of the TSA, IT conversion, integration,
       operating Company reorganization and ConAgra’s dissolution. Simply put, we
       inadvertently overloaded the newly acquired team with an administrative
       workload that interfered with their day jobs and distanced them from the private
       label marketplace. The effect of this miscalculation can best be seen in the
       dichotomy between the legendary TreeHouse and acquired Private Brands top
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       lines in the third quarter. Bay Valley retail units posted an almost 5% unit volume
       gain, their highest such performance in eight quarters in sharp contrast to Private
       Brands 3% unit volume loss under exactly similar market conditions. Both
       segments operated proficiently, especially in customer service and order fill rates.

       52.     Defendant Reed characterized the performance as a result of “a self-inflicted

wound” but that the operating companies would be reorganized “into a single united customer

facing approach, realigning our teams from their present sales channel orientation to a product

category basis.”

       53.     On this news, the price of TreeHouse stock fell $16.87 per share, or nearly 20%,

to close at $69.72 per share on November 3, 2016.

       54.     On February 9, 2017, the Company announced its fourth quarter 2016 financial

results and provided an outlook for fiscal 2017. For the quarter, it reported adjusted EPS of

$1.14, net sales of $1.776 billion, gross margins of 19.7%, and net loss of $281.8 million.

Defendant Reed stated that the integration of the Private Brands Business was “progressing well

and according to our plan” and highlighted that the “Private Brands gross margin improved to its

highest level since we closed the transaction.”

       55.     As to the 2017 outlook, the press release stated:

       In 2017, the Company believes the overall food industry will continue to face
       volatility and overall top line growth for the industry will be relatively
       flat. However, TreeHouse will focus on growing the top line, improving margins
       based on our historical year-over-year goal of 100bps, continuing the integration
       of Private Brands, and realizing synergies.

       TreeHouse net sales are expected to increase in 2017 to approximately $6.4-$6.6
       billion, driven by an increase in volume and an additional month of sales from the
       Private Brands acquisition in 2017. . . . TreeHouse provides guidance of $3.50 to
       $3.70 in earnings per fully diluted share in 2017.

       56.     On February 16, 2017, the Company filed its annual report on Form 10-K with the

SEC for the period ended December 31, 2016 on Form 10-K with the SEC (the “2016 10-K”). It

was signed by Defendants Reed, Foulston, Bayly, Massman, O’Brien, O’Connell, Sardini,
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Smith, Ussery, and Vermylen. Defendants Reed and Foulston signed certifications pursuant to

Rule 13a-14(a) and 15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002

(“SOX”) attesting to the accuracy of the 2016 10-K.

        57.    On March 2, 2017, defendants Reed, Bayly, Massman, O’Brien, O’Connell,

Sardini, Smith, Vermylen, and Ussery issued a definitive proxy statement soliciting stockholder

votes in advance of the Company’s annual meeting to be held April 27, 2017. In the proxy

statement, these nine defendants solicited stockholder votes in favor of five management

proposals including: (i) a proposal to elect O’Brien, Reed, and Sardini to new terms as directors;

and (ii) a proposal to approve an amendment to the Company’s Equity and Incentive Plan

(“Equity Plan”) to extend its term to February 15, 2027, to increase the number of shares

available for issuance by 3.8 million, and to approve the performance goals under the Equity

Plan.

        58.    The proxy statement disclosed that the Board had determined that Reed and

Vermylen were not independent directors. Regarding corporate governance, the proxy statement

stated: (i) that the Board is “committed to high standards of business integrity and corporate

governance;” (ii) that directors and executives “must act ethically and in accordance with our

Code of Ethics;” and (iii) that “the Board regularly reviews corporate governance developments

and modifies the Company’s corporate governance documents from time to time.”

        59.    As to risk oversight, the proxy statement stated:

        Together with the Board’s standing committees, the Board is responsible for
        ensuring that material risks are identified and managed appropriately. The Board
        and its committees regularly review material operational, financial, compensation
        and compliance risks with senior management. As part of its responsibilities as set
        forth in its charter, the Audit Committee is responsible for discussing with
        management the Company’s policies and guidelines to govern the process by
        which risk assessment and risk management are undertaken by management,
        including guidelines and policies to identify the Company’s major financial risk
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       exposures, and the steps management has taken to monitor and control such
       exposures. For example, our Vice President & Chief Audit Executive reports to
       the Audit Committee on a regular basis with respect to compliance with our risk
       management policies. The Audit Committee also performs a central oversight role
       with respect to financial and compliance risks, and reports on its findings at each
       regularly scheduled meeting of the Board after meeting with our Vice President &
       Chief Audit Executive and our independent auditor, Deloitte & Touche LLP. The
       Compensation Committee considers risk in connection with its design of
       compensation programs for our executives. The Nominating and Corporate
       Governance Committee annually reviews the Company’s Corporate Governance
       Guidelines and their implementation. Each committee regularly reports to the
       Board.

       60.     Regarding non-employee director compensation, defendants Bayly, Massman,

O’Brien, O’Connell, Sardini, Smith, and Ussery received compensation from TreeHouse for

their service on the Board during 2016 ranging between $277,352 and $299,852. Moreover,

Vermylen received $569,852 in director compensation. TreeHouse’s director compensation was

well-above the average for its peer companies. In addition to this excessive compensation, the

Equity Plan provides that the Compensation Committee may grant equity-based compensation

awards to attract and retain non-employee directors and key employees.

       61.     According to the proxy statement, the compensation under the Equity Plan is

awarded “based upon the achievement of specified performance objectives or the occurrence of

other events, such as a change in control, as determined by the Compensation Committee in its

discretion.” Moreover, the Compensation Committee “has the authority to determine other terms

and conditions of the performance shares and performance units.” Defendants Bayly, O’Brien,

and Sardini were the members of the Compensation Committee and therefore decided their own

compensation and the compensation of their fellow directors.

       62.     The proxy statement solicited shareholder approval of an amendment to the

Equity Plan to increase the number of shares of common stock reserved for issuance thereunder

by 3.8 million shares and to extend the term of the plan by 10 years to February 14, 2027, as well
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as to include minimum vesting standards and requirements that make the awards tax deductible.

If approved, the total number of shares reserved for issuance would be 16,060,167 million

shares, which represents 28.3% of the Company’s common stock outstanding as of January 31,

2017.

        63.    The proxy statement was materially misleading for the following reasons: (i) it

misrepresented the dwindling operations of the Private Brands Business; (ii) it misrepresented

the Board’s actual activities respect to risk management while soliciting votes to reelect and

compensate directors who were breaching their fiduciary duties; and (iii) it failed to disclose that

the directors on the Compensation Committee were interested in their own grants of

discretionary compensation. A reasonable shareholder would have found the truth to be material

when deciding whether to vote for or against these proposals.

        64.    On May 1, 2017, the Company filed with the SEC a Form 8-K disclosing the

results from the votes on the proposals contained in the proxy statement. In particular: (i)

O’Brien, Reed, and Sardini were reelected to terms as directors; and (ii) the amendment to the

Equity Plan was approved by stockholders. The reelection of O’Brien, Reed, and Sardini and

approval of the amendment to the Equity Plan were based on the misleading statements

contained in the proxy statement and other public filings was a fundamental link in these

directors’ continued breaches of fiduciary duties and the continued enrichment at the expense of

the Company’s unaffiliated stockholders.

        65.    On May 4, 2017, the Company filed a quarterly report on Form 10-Q with the

SEC for the period ended March 31, 2017 (the “1Q17 10-Q”). Defendants Reed and Foulston

signed SOX certifications attesting to its accuracy. The Company reported adjusted EPS of

$0.61, net sales of $1.5 billion, gross margins of 18.6%, and net income of $28.2 million.
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       66.     Commenting on the integration efforts, Defendant Reed stated:

       This quarter we took meaningful actions to deliver on our transformation. . . . We
       are particularly pleased with the excellent progress we have made toward the
       integration of Private Brands. Our information technology work is progressing
       ahead of schedule and will strengthen our ability to support our customers’ private
       label growth initiatives.

       67.     On June 13, 2017, the Company announced that Defendant Aiken had been

appointed President and COO of the Company, effective July 10, 2017.

       68.     On August 3, 2017, the Company filed a quarterly report on Form 10-Q with the

SEC for the period ended June 30, 2017 (the “2Q17 10-Q”). Defendants Reed and Foulston

signed SOX certifications attesting to its accuracy. The Company reported adjusted EPS of

$0.51, net sales of $1.522 billion, and net loss of $34.2 million. It also lowered its guidance with

adjusted EPS between $3.15 and $3.30.

       69.     The same day, the Company unveiled its TreeHouse 2020 restructuring program

“[b]ased on new data analytic capabilities and key insights recently visible as a result of the

Company’s systems integration of Private Brands.”

                               THE TRUTH FULLY EMERGES

       70.     On November 2, 2017, the Company’s financial performance further deteriorated.

For the third quarter 2017, the Company reported adjusted EPS of $0.67, net sales of $1.5

billion, and net income of $28.8 million. It also lowered its full year guidance again with

adjusted EPS between $2.70 to $2.80.

       71.     Moreover, Defendant Aiken resigned—only five months after being elected to the

position.

       72.     On this news, the price of TreeHouse stock fell $23.33 per share, or more than

35%, to close at $43.03 per share on November 2, 2017.
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       73.     The statements referenced in ¶¶ 33-52, 54-56, and 65-69 above were misleading

because they misrepresented: (i) that integration of the Private Brands Business with the

Company’s legacy business was progressing well; and (ii) the financial performance of the

Private Brands Business.

                                 DAMAGES TO TREEHOUSE

       74.     As a direct and proximate result of the Individual Defendants’ actions, TreeHouse

has been seriously harmed and will continue to be. Such harm includes, but is but not limited to:

               (a)     Legal fees incurred in connection with the Securities Class Action;

               (b)     Any funds paid to settle the Securities Class Action; and

               (c)     Costs incurred from compensation and benefits paid to the defendants who

have breached their duties to TreeHouse.

       75.     In addition, TreeHouse’s business, goodwill, and reputation with its business

partners, regulators, and shareholders have been gravely impaired. The Company still has not

fully admitted the nature of its misleading statements and the true condition of its business. The

credibility and motives of management are now in serious doubt and credit and funding will

prove increasingly difficult and expensive as a result of the fumbled integration..

       76.     The actions complained of herein have irreparably damaged TreeHouse’s

corporate image and goodwill. For at least the foreseeable future, TreeHouse will suffer from

what is known as the “liar’s discount,” a term applied to the stocks of companies who have been

implicated in illegal behavior and have misled the investing public, such that TreeHouse’s ability

to raise equity capital or debt on favorable terms in the future is now impaired.
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                 DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

        77.     Plaintiff brings this action derivatively in the right and for the benefit of

TreeHouse to redress injuries suffered, and to be suffered, by TreeHouse as a direct result of

breaches of fiduciary duty, waste of corporate assets, and unjust enrichment, as well as the aiding

and abetting thereof, by the Individual Defendants. TreeHouse is named as a nominal defendant

solely in a derivative capacity. This is not a collusive action to confer jurisdiction on this Court

that it would not otherwise have.

        78.     Plaintiff will adequately and fairly represent the interests of TreeHouse in

enforcing and prosecuting its rights.

        79.     Plaintiff was a stockholder of TreeHouse at the time of the wrongdoing

complained of, has continuously been a stockholder since that time, and is a current TreeHouse

stockholder.

        80.     When this action was filed, TreeHouse’s Board of Directors consisted of

defendants Bayly, Massman, O’Brien, O’Connell, Sardini, Smith, and Vermylen and non-party

directors Steven Oakland, Matthew E. Rubel, Jean E. Spence. Plaintiff did not make any demand

on the Board to institute this action because such a demand would be a futile and meaningless

act, as set forth below.

        81.     During 2016 and 2017, defendants Bayly, Massman, O’Brien, O’Connell, Sardini,

Smith, and Vermylen were members of the Board when TreeHouse’s public disclosures

misrepresented the financial performance of the Private Brands Business. Due to their role as

members of the Board, these defendants had responsibility for oversight of the Company’s core

business. They were responsible for oversight of the integration of the acquisition from ConAgra

and for the financial health of the Company. However, they failed to disclose accurately the
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financial performance of the Private Brands Business. These failures were breaches of their

fiduciary duties, and defendants Bayly, Massman, O’Brien, O’Connell, Sardini, Smith, and

Vermylen would be interested in a demand regarding whether they had discharged their duties as

Board members.

       82.     During 2017, while they were breaching their fiduciary duties by failing to

execute their responsibilities to oversee the Company’s risk and the truthfulness of its public

disclosures, defendants Reed, Bayly, Massman, O’Brien, O’Connell, Sardini, Smith, Vermylen,

and Ussery issued a proxy statement that misleadingly failed to disclose to stockholders that they

had granted themselves excessive compensation in 2016 and sought to increase the equity-based

incentive compensation available for issuance without disclosing accurately the Company’s

financial health upon which such incentive payments would be based. As a result, defendants

Reed, Bayly, Massman, O’Brien, O’Connell, Sardini, Smith, Vermylen, and Ussery breached

their fiduciary duties by conferring upon themselves excessive compensation in 2016 and issuing

a misleading proxy statement in support of doing so. They would be interested in a demand

regarding their decision to do so.

       83.     Moreover, during the period of time when the Company materially misstated

information to keep the stock price inflated and before the scheme was exposed, defendants

Sardini, Sliva, and Smith sold Company stock and made no purchases of Company stock. Sardini

sold 3,830 shares on June 29, 2016 for which she received $378,389.10; Sliva sold 3,093 shares

on June 6, 2016 for which he received $294,175; and Smith sold 7,015 shares on March 31, 2016

for which he received $610,305. These defendants’ insider sales, made with knowledge of

material non-public information before the material misstatements and omissions were exposed,
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demonstrates their motive in facilitating and participating in the fraud. Therefore, they would be

interested in a demand.

                                            COUNT I
                 Against the Individual Defendants for Breach of Fiduciary Duty

           84.   Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

           85.   Each Individual Defendant owed to the Company the duty to exercise candor,

good faith, and loyalty in the management and administration of TreeHouse’s business and

affairs.

           86.   Each of the Individual Defendants violated and breached his or her fiduciary

duties of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

           87.   The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The

Individual Defendants intentionally or recklessly breached or disregarded their fiduciary duties

to protect the rights and interests of TreeHouse.

           88.   In breach of their fiduciary duties owed to TreeHouse, the Individual Defendants

willfully or recklessly caused the Company to issue false and misleading statements and/or

omissions of material fact and to cause the Company to increase the Individual Defendants’

salaries and stock grants, to the detriment of the shareholders and the Company. Moreover, the

Individual Defendants failed to correct and/or caused the Company to fail to correct the false

and/or misleading statements and/or omissions of material fact referenced, rendering them

personally liable to the Company for breaching their fiduciary duties.

           89.   The Individual Defendants had actual or constructive knowledge that the

Company issued materially false and misleading statements, and they failed to correct the
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Company’s public statements and representations. The Individual Defendants had actual

knowledge of the misrepresentations and omissions of material facts set forth herein, or acted

with reckless disregard for the truth, in that they failed to ascertain and to disclose such facts,

even though such facts were available to them. Such material misrepresentations and omissions

were committed knowingly or recklessly and for the purpose and effect of artificially inflating

the price of TreeHouse’s securities.

       90.     The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent scheme set forth herein and to fail to

maintain adequate internal controls. The Individual Defendants had actual knowledge that the

Company was engaging in the fraudulent schemes set forth herein, and that internal controls

were not adequately maintained, or acted with reckless disregard for the truth, in that they caused

the Company to improperly engage in the fraudulent scheme and to fail to maintain adequate

internal controls, even though such facts were available to them. Such improper conduct was

committed knowingly or recklessly and for the purpose and effect of artificially inflating the

price of TreeHouse’s securities.

       91.     These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       92.     As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, TreeHouse has sustained and continues to sustain significant damages. As

a result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       93.     Plaintiff on behalf of TreeHouse has no adequate remedy at law.
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                                          COUNT II
                     Against Individual Defendants for Unjust Enrichment

       94.     Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       95.     By their wrongful acts and false and misleading statements and omissions of

material fact that they made and/or caused to be made, the Individual Defendants were unjustly

enriched at the expense of, and to the detriment of, TreeHouse.

       96.     The Individual Defendants either benefitted financially from the improper

conduct, received proceeds from insider sales, and received unjustly lucrative bonuses tied to the

false and misleading      statements,   or   received   bonuses,   stock   options,   or   similar

compensation from TreeHouse that was tied to the performance or artificially inflated valuation

of TreeHouse, or received compensation that was unjust in light of the Individual Defendants’

bad faith conduct.

       97.     Plaintiff, as a shareholder and a representative of TreeHouse, seeks restitution

from the Individual Defendants and seeks an order from this Court disgorging all profits,

proceeds from insider sales, benefits, and other compensation, including any performance-based

or valuation- based compensation, obtained by the Individual Defendants due to their wrongful

conduct and breach of their fiduciary duties.

       98.     Plaintiff on behalf of TreeHouse has no adequate remedy at law.

                                         COUNT III
                      Against Individual Defendants for Abuse of Control

       99.     Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.
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       100.    The Individual Defendants’ misconduct alleged herein constituted an abuse of

their ability to control and influence TreeHouse, for which they are legally responsible.

       101.    As a direct and proximate result of the Individual Defendants’ abuse of control,

TreeHouse has sustained significant damages. As a direct and proximate result of the Individual

Defendants’ breaches of their fiduciary obligations of candor, good faith, and loyalty, TreeHouse

has sustained and continues to sustain significant damages. As a result of the misconduct alleged

herein, the Individual Defendants are liable to the Company.

       102.    Plaintiff on behalf of TreeHouse has no adequate remedy at law.

                                        COUNT IV
                  Against Individual Defendants for Gross Mismanagement

       103.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       104.    By their actions alleged herein, the Individual Defendants, either directly or

through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties

with regard to prudently managing the assets and business of TreeHouse in a manner consistent

with the operations of a publicly-held corporation.

       105.    As a direct and proximate result of the Individual Defendants’ gross

mismanagement and breaches of duty alleged herein, TreeHouse has sustained and will continue

to sustain significant damages.

       106.    As a result of the misconduct and breaches of duty alleged herein, the Individual

Defendants are liable to the Company.

       107.    Plaintiff, on behalf of TreeHouse, has no adequate remedy at law.
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                                        COUNT V
                Against Individual Defendants for Waste of Corporate Assets

       108.    Plaintiff incorporates by reference and re-alleges each and every allegation set

forth above, as though fully set forth herein.

       109.    The Individual Defendants caused the Company to pay themselves excessive

salaries, bonuses, fees, and stock grants to the detriment of the shareholders and the Company.

       110.    As a result of the foregoing, and by failing to properly consider the interests of the

Company and its public shareholders, Defendants have caused TreeHouse to waste valuable

corporate assets, to incur many millions of dollars of legal liability and/or costs to defend

unlawful actions, to engage in internal investigations, and to lose financing from investors and

business from future customers who no longer trust the Company and its products.

       111.    As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

       112.    Plaintiff on behalf of TreeHouse has no adequate remedy at law.

                                          COUNT VI
                Violations of Section 14 of the Securities Exchange Act of 1934

       113.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

       114.    Rule 14a-9, promulgated pursuant to §14(a) of the Securities Exchange Act of

1934, provides that no proxy statement shall contain “any statement which, at the time and in

light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements

therein not false or misleading.” 17 C.F.R. §240.14a-9. Specifically, the Company’s proxy

statement filed on March 2, 2017 violated §14(a) and Rule 14a-9 because it: (i) it misrepresented
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the operations of the Private Brands business; (ii) it misrepresented the Board’s actual activities

respect to risk management while soliciting votes to reelect and compensate directors who were

breaching their fiduciary duties; and (iii) it failed to disclose that the directors on the

Compensation Committee were interested in their own grants of discretionary incentive

compensation.

       115.     In the exercise of reasonable care, defendants should have known that the

statements contained in the proxy statement were materially false and misleading.

       116.     The misrepresentations and omissions in the proxy statement were material to

Company shareholders in voting on the proxy statement. The proxy statement solicited and

obtained shareholder votes for: (i) director nominees; (ii) ratification of the appointment of the

Company’s independent auditor; (iii) approval of the Company’s executive compensation; (iv)

approval of the frequency of future advisory votes of the Company’s executive compensation

program; and (v) approve the amendment and restatement of the Company’s Equity Plan. The

proxy statement was an essential link in the accomplishment of the continuation of defendants’

continued violation of their fiduciary duties.

       117.     The Company was damaged as a result of the defendants’ material

misrepresentations and omissions in the proxy statement.

                                     PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

                (a)    Declaring that Plaintiff may maintain this action on behalf of TreeHouse,

and that Plaintiff is an adequate representative of the Company;
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               (b)     Declaring that the Individual Defendants have breached and/or aided and

abetted the breach of their fiduciary duties to TreeHouse;

               (c)     Determining and awarding to TreeHouse the damages sustained by it as a

result of the violations set forth above from each of the Individual Defendants, jointly and

severally, together with pre-judgment and post-judgment interest thereon;

               (d)     Directing TreeHouse and the Individual Defendants to take all necessary

actions to reform and improve its corporate governance and internal procedures to comply with

applicable laws and to protect TreeHouse and its shareholders from a repeat of the damaging

events described herein, including, but not limited to, putting forward for shareholder vote the

following resolutions for amendments to the Company’s Bylaws or Articles of Incorporation and

such others as may be necessary to ensure proper corporate governance policies:

                       (i)     A proposal to strengthen the Board’s supervision of operations and

develop and implement procedures for greater shareholder input into the policies and guidelines

of the board, including the institution of a satisfactory Code of Ethics for directors and senior

officers;

                       (ii)    A provision to permit the shareholders of TreeHouse to nominate

at least five candidates for election to the board;

                       (iii)   A provision to decrease director compensation to bring it in line

with peer group companies; and

                       (iv)     A proposal to ensure the establishment of effective oversight of

compliance with applicable laws, rules, and regulations.

               (e)     Awarding TreeHouse restitution from Individual Defendants, and each of

them;
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                 (f)     Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

                 (g)     Granting such other and further relief as the Court may deem just and

proper.

                                            JURY DEMAND

          Pursuant to Fed. R. Civ. P. 38(b), plaintiff requests a trial by jury.

Dated: February 8, 2019                          LAW OFFICE OF NORMAN RIFKIND

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                                       TREEHOUSE FOODS, INC. VERIFICATION



                     I, Donald Bartelt, hereby verify that I am familiar with the allegations in the Complaint,

            and that I have authorized the filing of the Complaint, and that the foregoing is true and correct

            to the best of my knowledge, information, and belief.




                    2/7/2019
            Date: __________________                                     ____________________________
                                                                                 Donald Bartelt
